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                          THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF MISSISSIPPI
                                        (Aberdeen)

 In re:                                              )
                                                     )
 JASON FLY LOGGING, LLC,                             )       Case No. 18-10483-JDW
                                                     )       Judge Jason W. Woodard
                Debtor.                              )       Chapter 11
                                                     )


     JOINT MOTION TO APPROVE SALE OF 2017 TIGERCAT 635E SKIDDER (S/N
            6352085) AND TIGERCAT GRAPPLE (S/N SBG7203-25-0321)
                         FREE AND CLEAR OF LIENS


          The above-captioned debtor (the “Debtor”) and Sumitomo Mitsui Finance and Leasing

 Company, Limited (“SMFL” and together with the Debtor, the “Movants”), pursuant to 11 U.S.C.

 §363(b) and (f), and Rules 2002 and 6004 of the Federal Rules of Bankruptcy Procedure, hereby

 move the United States Bankruptcy Court for the Northern District of Mississippi (this “Bankruptcy

 Court”) for an order approving the sale of a 2017 Tigercat 635E Skidder (S/N 6352085) and

 Tigercat Grapple (S/N SBG7203-25-0321) (collectively with any additions and accessions

 thereto, the “Equipment”) to Dragon Woodland Corporation (the “Purchaser”), free and clear of

 all liens, claims, interests and encumbrances (the “Sale”). In support of this Motion, Movants

 state as follows:

                                 JURISDICTION AND VENUE

          1.    The Debtor commenced this case by filing voluntary petitions for relief under

 chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) on February 12, 2018

 (the “Petition Date”).

          2.    The Debtor continues to manage its business as Debtor-in-possession pursuant to

 sections 1107(a) and 1108 of the Bankruptcy Code. As of the date hereof, no trustee or examiner


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 has been requested in these chapter 11 cases.

        3.        This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                                          BACKGROUND

        4.        Purchaser has agreed to buy the Equipment for a purchase price of $265,000 (the

 “Purchase Price”) as a result of arms-length and good-faith negotiations.

        5.        The Debtor believes that the Purchase Price is equal to the fair market value and

 the Debtor submits that no further marketing is necessary.

        6.        SMFL holds a duly-perfected security interest in the Equipment. SMFL’s lien on

 the Equipment secures payment of a Promissory Note to Financing and Security Agreement No.

 1 dated November 3, 2016 in the original principal amount of $406,750 made by the Debtor

 payable to SMFL (the “Note”).         The amount owed to SMFL under the Note exceeds the

 Purchase Price.

        7.        Pursuant to this Sale Motion, Debtor seeks the approval of the Court to sell the

 Equipment to the Purchaser for $265,000, as a legal, valid, and effective transfer of the

 Equipment which will vest the Purchasers with all right, title, and interest in the Equipment free

 and clear of any liens and claims of any and every kind or nature whatsoever pursuant to 11

 U.S.C. §363(f ) and all other applicable laws.

        8.        The Debtor believes the sale of the Equipment is in the best interest of the estate

 and creditors.

                                        BASIS FOR RELIEF

    A. Section 363(b) Authorizes the Proposed Sale.

        8.        Section 363(b) of the Bankruptcy Code provides that “the trustee, after notice and

 a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the


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 estate.” Section 1107(a) of the Bankruptcy Code grants a debtor-in-possession the powers of a

 trustee in respect to various matters including sales under section 363(b) of the Bankruptcy

 Code.

         9.     Although section 363 of the Bankruptcy Code does not specify a standard for

 determining when it is appropriate for a court to authorize the use, sale or lease of property of the

 estate, courts have found that a debtor’s sale or use of assets outside the ordinary course of

 business should be approved if the debtor can demonstrate a sound business justification for

 the proposed transaction. See, e.g., In re Eagle Picher Holdings, Inc., 2005 WL 4030132

 (Bankr. S.D. Ohio 2005); In re Martin, 91 F.3d 389, 395 (3rd Cir. 1996); In re Abbotts

 Dairies of Penn., Inc., 788 F.2d 143 (3rd Cir. 1986); In re Lionel Corp., 722 F.2d 1063, 1071

 (2nd Cir. 1983).

         10.    The key consideration is the Court’s finding that a good business reason exists for

 the sale. Stephens Industries, Inc. v. McClung, 789 F.2d 386 (6th Cir. 1986); see also, Myers v.

 Martin (In re Martin), 91 F.3d 389, 395 (3d Cir. 1996); Dai-Ichi Kangyo Bank, Ltd. v.

 Montgomery Ward Holding Corp., (In re Montgomery Ward Holding Corp.), 242 B.R. 147,

 153 (Bankr. D. Del. 1999).

                Whether the proffered business justification is sufficient depends
                on the case. As the Second Circuit held in Lionel, the bankruptcy
                judge should consider all salient factors pertaining to the
                proceeding and, accordingly, act to further the diverse interests of
                the debtor, creditors and equity holders, alike. He might, for
                example, look to such relevant factors as the proportionate value of
                the assets of the estate as a whole, the amount of elapsed time since
                the filing, the likelihood that a plan of reorganization will be
                proposed and confirmed in the near future, the effect of the
                proposed disposition on future plans of reorganization, the
                proceeds to be obtained from the disposition vis-a-vis any
                appraisals of the property, which of the alternatives of use, sale or
                lease the proposal envisions and, most importantly perhaps,
                whether the asset is increasing or decreasing in value. This list is



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                 not intended to be exclusive, but merely to provide guidance to the
                 bankruptcy judge.

 In re Walter, 83 B.R. 14, 19-20 (9th Cir. Bankr. 1988), citing In re Lionel Corporation, 722 F.2d

 1063, 1070-71 (2nd Cir. 1983).

         11.     Once the Debtor articulates a valid business justification, “[t]he business

 judgment rule ‘is a presumption that in making a business decision the directors of a

 corporation acted on an informed basis, in good faith and in the honest belief that the action

 taken was in the best interests of the company.’” In re S.N.A. Nut Co., 186 B.R. 98 (Bankr.

 N.D. Ill. 1995); see also In re Integrated Res., Inc., 147 B.R. 650, 656 (S.D.N.Y. 1992); In re

 Johns-Manville Corp., 60 B.R. 612, 615-16 (Bankr. S.D.N.Y. 1986) (“a presumption of

 reasonableness attaches to a debtor's management decisions”).

         12.     The Debtor, in its business judgment, believes that the sale of the Equipment is in

 the best interests of the Debtor and its creditors.

     B. Sound Business Reasons Support a Private Sale.

         13.     Bankruptcy Rule 6004(f)(1) permits private sales by a debtor. Fed. R. Bankr. P.

 6004(f)(1) (“All sales not in the ordinary course of business may be by private sale or by public

 auction.”). Courts have also noted that private sales are appropriate and permissible under

 Section 363. See In re Bakalis, 220 B.R. 525, 531 (Bankr. E.D.N.Y. 1998) (“the sale of estate

 property under the Bankruptcy Code is conducted by a trustee, who has ample discretion to

 conduct public or private sales of estate property”); Penn Mut. Life Ins. Co. v. Woodscape Ltd.

 P’ship (In re Woodscape Ltd. P’ship), 134 B.R. 165, 174 (Bankr. D. Md. 1991) (noting that, with

 respect to sales of estate property pursuant to Section 363 of the Bankruptcy Code, “[t]here is no

 prohibition against a private sale . . . and there is no requirement that the sale be by public

 auction”).



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         14.     Courts often allow a chapter 11 debtor to sell assets outside the ordinary course of

 business by private sale when the debtor demonstrates that the sale is permissible pursuant to

 section 363(b) of the Bankruptcy Code. See, e.g., In re Astroturf, LLC, Case No. 16-41504

 (Bankr. N.D .Ga. Aug. 12, 2016) (Bonapfel, J.); In re Catalyst Natural Gas, LLC, Case No. 08-

 79390, (Bankr. N.D. Ga. Dec. 19, 2008) (Bihary, J.).

         15.     Here, the Debtor has no equity in the Equipment and was planning to sell the

 Equipment in connection with its Plan of Liquidation (Doc 169). Moreover, the Equipment is of

 the type that decreases in value with use over time. Through the proposed sale, the Debtor seeks

 to avoid incurring continued insurance and maintenance expenses in connection with the

 Equipment.

         16.     The proposed sale provides a greater recovery for the estate than could

 realistically be achieved by any other practically available alternative. Due to the current stage

 of the bankruptcy case, the Debtor believes a public sale process that includes an auction feature

 has little or no chance of yielding a better outcome than that afforded by the current sale

 proposed. Indeed, an increase in the purchase price is likely to only increase the amount of

 SMFL’s secured claim. As a result, a public sale process would merely cause the Debtor’s estate

 to incur additional administrative expenses without significant corresponding or offsetting

 benefit to the estate.

         17.     The Debtor’s decision to sell the Equipment to the Purchaser in a private sale

 transaction is a valid and sound exercise of the Debtor’s business judgment. The Debtor has

 considered all options under the circumstances and has determined that a private sale to the

 Purchaser will result in the greatest recovery. For all of the foregoing reasons, the relief

 requested in this Motion is a product of sound business judgment and is in the best interests of




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 the Debtor, its creditors, and estate and should be granted.

    C. Section 363(f) Authorizes the Sale Free and Clear of Liens and Other Claims.

        27.       Section 363(f)(2) of the Bankruptcy Code provides that a sale may be free and

 clear of any interest in such property of an entity other than the estate if such entity consents.

        28.       One or more of the conditions set forth in §363(f) will be satisfied with respect to

 the sale of the Equipment. Specifically, the Debtor’s secured lender, SMFL, which holds a duly

 perfected security interest in the Equipment will consent, or will be adequately protected by

 attachment to the sale proceeds. Applicable non-bankruptcy law permits sale of the Equipment

 free and clear of any interests therein that are subordinate to SMFL's security interest.

    D. Waiver of 14-Day Stay on Closing is Warranted.

        29.       Bankruptcy Rules 6004(h) and 6006(d) respectively provide that an order

 authorizing the use, sale, or lease of property and an order authorizing the assumption and

 assignment of executory contracts or unexpired leases will be stayed for fourteen days after entry

 of such approval orders unless the court orders otherwise. Because of the need to close the

 transactions contemplated herein as promptly as possible, the Debtor requests that the Court

 order and direct that the order approving this Motion shall not be automatically stayed for

 fourteen days.

        WHEREFORE, the Debtor respectfully requests this Bankruptcy Court to enter an

 order: authorizing the Debtor to sell the Equipment other than in the ordinary course, free and

 clear of liens, interests and other claims to Purchaser and granting such other and further relief as

 this Court deems just and appropriate under the circumstances.




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 Dated: August 23, 2018



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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 23rd day of August, 2018, a copy of the foregoing
 electronically filed pleading was served on the parties listed below, the office of the U.S.
 Trustee, and the parties listed on the attached creditor mailing matrix by first-class mail, postage
 prepaid, unless said party is a registered CM/ECF participant who has consented to electronic
 notice, and the Notice of Electronic Filing indicates that Notice was electronically mailed to said
 party.

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                                                 /s/ Erno Lindner




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c/o Bettye Carr                                        Document
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Mississippi Department of Revenue                Mitcham Truck and Auto Supply                     Morgan Law Firm
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Jackson MS 39225-2808                            Strong, AR 71765-0490


Napa Auto Parts                                  Napa Auto Parts                                   On the Spot Windsheild Repair
101 E. Hospital Rd.                              603 W. Main Street                                1085 Highway 49 West
Sardis, MS 38666-1271                            Charleston, MS 38921-2130                         West Helena, AR 72390-1835



On the Spot Windshield Repair LLC                PACCAR Financial Corp.                            (p)PACCAR FINANCIAL CORP
%Paige Ginn                                      c/o Olivia Spencer, Esq.                          P O BOX 1518
P.O. Box 158                                     Post Office Box 123                               BELLEVUE WA 98009-1518
Lexa AR 72355-0158                               Jackson, MS 39205-0123


Paccar Financial                                 Toni Campbell Parker                              Toni Campbell Parker
PFC South east office 2180 satellite BLv         P.O. Box 240666                                   P.O. Box 240666
Suite 200                                        Memphis, TN 38124-0666                            615 Oakleaf Office Lane
Duluth, GA 30097                                                                                   Memphis, TN 38117-4812


D. Andrew Phillips                               Pierce and Company, INC                           Rosamond H. Posey
P.O. Box 947                                     209 North Buerkle                                 P.O. Box 947
Oxford, MS 38655-0947                            PO Box 140                                        Oxford, MS 38655-0947
                                                 Stuttgart, AR 72160-0140


Pro Billing & Funding Service                    Ralph W Waddell                                   Ralph Waddell
PO Box 2222                                      P.O. Box 1700, 310 East Street                    Waddell Cole & Jones PLLC
Decatur, AL 35609-2222                           310 East Street                                   P O Box 1700
                                                 Jonesboroo, AR 72401                              Jonesboro, AR 72403-1700


Regions Bank                                     Santander Bank                                    Santander Bank N. A.
P.O. Box 10063                                   P.O. Box 14833                                    c/o Cliff A. Katz, Esq.
Birmingham, AL 35202-0063                        Reading, PA 19612-4833                            Platzer, Swergold, Levin, Goldberg,
                                                                                                   Katz & Jaslow, LLP
                                                                                                   475 Park Avenue, South
                                                                                                   New York, NY 10016-6901
Sewell Oil Company                               John Seymour                                      Sibley Auto & Farm Supply, INC
3400 Junction City HWY.                          P.O. Box 349                                      81 Plaza Ave
El Dorado, AR 71730-8308                         Fremont, NE 68026-0349                            West Helena, AR 72390-2367
Southern StatesCase
                Utility18-10483-JDW
                        Trailer Sales, I   Doc 265
                                                SouthernFiled
                                                         Timber08/23/18
                                                                Resources, Inc.Entered 08/23/18 Southern
                                                                                                 13:47:26       Desc
                                                                                                         Tire Mart,  LLC Main
PO Box 6257                                         Document
                                                P.O. Box 190          Page     14 of 16         Dept 143 PO Box 1000
Pearl, MS 39288-6257                             Bryant, AR 72089-0190                           Memphis, TN 38148-0143



Sparks Auto Part                                 Olivia Spencer                                  Stephenson Oil Company, Inc.
1360 N Lamar                                     King & Spencer PLLC                             Morgan Law Firm, P.A.
Oxford, MS 38655-2838                            P.O. Box 123                                    148 Court Street
                                                 Jackson, MS 39205-0123                          Clinton, AR 72031-7085


Stribling Equipment, LLC                         Amy Elizabeth Strickland                        Sumitomo Mitsui Finance
P.O.Box 6038                                     Apperson Crump, PLC                             277 Park Ave., 15th Floor
Pearl, MS 39288-6038                             6070 Poplar Avenue, Suite 600                   New York, NY 10172-0003
                                                 Memphis, TN 38119-3903


Sumitomo Mitsui Finance & Leasing                Sumitomo Mitsui Finance and Leasing Company,    Sumitomo Mitsui Finance and Leasing Company,
277 Park Ave., 15th Floor                        Attention: Accounting - Contract # 1131         c/o Erno Lindner
New York, NY 10172-0003                          666 Third Avenue, 8th Floor                     633 Chestnut St.
                                                 New York, New York 10017-4033                   Suite 1900
                                                                                                 Chattanooga, TN 37450-1801

TBK Bank SSB                                     TD Auto Finance                                 TD Auto Finance
Truimph Bank Financial                           P.O. Box 16035                                  P.O. box 9223
12700 Park Central Drive, Ste. 1700              Middlefield, MA 01243                           Farmington, MI 48333-9223
Dallas, TX 75251-1517


TD Auto Finance LLC                              TD Auto Finance, LLC                            TD Auto Finance, LLC
Jacob Zweig, Esq.                                1715 Aaron Brenner Drive, Suite 800             P.O. Box 16041
EVANS PETREE PC                                  Memphis, TN 38120-1445                          Lewiston, ME 04243-9523
1715 Aaron Brenner Drive, Suite 800
Memphis, TN 38120-1445

Taylor and Martin Inc                            Teletrac Navman US Ltd.                         Sammye S. Tharp
P.O. Box 349                                     7391 Lincoln Way                                501 East Court Street
Fremont, NE 68026-0349                           Garden Grove, CA 92841-1428                     Suite 6-430
                                                                                                 Jackson, MS 39201-5022


Thompson Machine                                 Truck Pro LLC                                   Truck Pros
1245 Bridgestone BLVD                            29787 Network Place                             190 Charles Bryan
La Vergne, TN 37086-3510                         Chicago, IL 60673-1297                          Cordova, TN 38016



U. S. Trustee                                    U.S. Securities and Exchange Commission         Volvo Financial Services, a division of VFS
501 East Court Street, Suite 6-430               Atlanta Regional Office                         c/o Erno D. Lindner, Esq.
Jackson, MS 39201-5022                           950 East Paces Ferry Road, N.E., Suite 9        633 Chestnut St., Ste. 1900
                                                 Atlanta GA 30326-1180                           Chattanooga, TN 37450-1801


Andrew R. Wilson                                 Jacob C Zweig
Bennett Lotterhos Sulser & Wilson, P.A.          Evans Petree PC
P.O. Box 98                                      1715 Aaron Brenner Drive
Jackson, MS 39205-0098                           Suite 800
                                                 Memphis, TN 38120-1445
                Case 18-10483-JDW            Doc 265 Filed 08/23/18 Entered 08/23/18 13:47:26                            Desc Main
                                                    Document    Page 15 of 16
                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Ford Motor Credit Company LLC                       IRS                                                  (d)Internal Revenue Service
P.O. Box 62180                                      Attn: Special Processing Staff                       Attn: Special Processing Staff
Colorado Springs, CO 80962                          100 West Capitol St. Room 504                        100 West Capitol Street
                                                    Jackson, MS 39269                                    Room 504
                                                                                                         Jackson MS 39269

PACCAR Financial Corp.
Attn: Linda Markle, BK Specialist
P.O. Box 1518
Bellevue, WA 98009-1518




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Aramork                                          (d)Arkansas Best Logging LLC                         (u)Arkansas Best Logging, LLC
5508 Jefferson Parkway                              625 Garfield St
White Hall, AR 71602-3438                           Clarendon, AR 72029-2630



(u)BMO Harris                                       (d)Balboa Capital                                    (d)Balboa Capital Corporation
                                                    575 Anton Blvd., 12th Floor                          575 Anton Boulevard
                                                    Costa Mesa, CA 92626-7169                            12th Floor
                                                                                                         Costa Mesa, CA 92626-7169


(u)Banc of America Leasing & Capital, LLC           (d)Bobby Henord Tire, INC                            (d)Caterpillar Financial
                                                    Po Box 608                                           2120 W End Ave
                                                    Brinkley, AR 72021-0608                              Nashville, TN 37203-5341



(d)Cook Oil Company, INC                            (u)Dragon Woodland Corporation                       (d)ENGS Commercial Finance Co.
PO Box 638                                                                                               One Pierce Place Suite 1100 West
Holly Springs, MS 38635-0638                                                                             Itasca, IL 60143-3149



(d)Ford Motor Credit                                (d)Graham Equipments Co.                             (d)Gresham Petroleum
P.O. Box 790093                                     206 Wilson Dr.                                       PO Box 397
Saint Louis, MO 63179-0093                          Senatobia, MS 38668-1706                             Tunica, MS 38676-0397



(d)Jason Fly                                        (d)John Deere Construction & Forestry Company        (d)John Deere Financial
1155 Jeff Sanders Rd.                               c/o Les Alvis                                        P.O. Box 650215
Batesville, MS 38606-9214                           P.O. Box 1836                                        Dallas, TX 75265-0215
                                                    207 Court St.
                                                    Tupelo, MS 38804-3907
              Case 18-10483-JDW
(u)Bruce M. Kahn                           Doc 265     Filed 08/23/18
                                                (d)MHC Financial Services     Entered 08/23/18 (d)Mechanics
                                                                                                13:47:26 BankDesc Main
Apperson Crump PLC                                  Document          Page    16   of
                                                11120 Tomahawk Creek Pkwy.. Ste. 100-A16       P.O. Box 707
6070 Poplar Avenue                               Welda, KS 66091                             Water Valley, MS 38965-0707
Suite 600
Memphis38119

(d)Mechanics Bank                                (d)Morgan Law Firm                          (d)PACCAR Financial Corp.
P.O. Box 707                                     148 Court Street                            c/o Olivia Spencer, Esq.
Water Valley, MS 38965-0707                      Clinton, AR 72031-7085                      Post Office Box 123
                                                                                             Jackson, MS 39205-0123


(d)Paccar Financial                              (d)Pro Billing & Funding Service            (d)Southern Tire Mart, LLC
PFC South east office 2180 satellite BLv         PO Box 2222                                 Dept 143 PO Box 1000
Suite 200                                        Decatur, AL 35609-2222                      Memphis, TN 38148-0143
Duluth, GA 30097


(d)Stribling Equipment, LLC                      (d)Thompson Machine                         End of Label Matrix
P.O.Box 6038                                     1245 Bridgestone BLVD                       Mailable recipients   148
Pearl, MS 39288-6038                             La Vergne, TN 37086-3510                    Bypassed recipients    29
                                                                                             Total                 177
